Case 2:20-cv-02291-DOC-KES Document 259 Filed 03/29/21 Page 1 of 2 Page ID #:5511




    1 RODRIGO A. CASTRO-SILVA (SBN 185251), County Counsel
      rcastro-silva@counsel.lacounty.gov
    2 LAUREN M. BLACK (SBN 192302), Assistant County Counsel
    3 AMIE S. PARK (SBN 273346), Deputy County Counsel
      500 West Temple Street, Suite 468
    4 Los Angeles, California 90012
      Telephone: (213) 974-1830
    5 Facsimile: (213) 626-7446
    6 BYRON J. MCLAIN (SBN 257191)
    7 bmclain@foley.com
      FOLEY & LARDNER, LLP
    8 555 South Flower Street, Suite 3300
      Los Angeles, California 90071
    9 Telephone: (310) 972-4500
   10 Facsimile: (213) 486-0065
   11 LOUIS R. MILLER (SBN 54141)
      smiller@millerbarondess.com
   12 MIRA HASHMALL (SBN 216842)
      EMILY A. RODRIGUEZ-SANCHIRICO (SBN 311294)
   13 MILLER BARONDESS, LLP
   14 1999 Avenue of the Stars, Suite 1000
      Los Angeles, California 90067
   15 Telephone: (310) 552-4400
      Facsimile: (310) 552-8400
   16
   17 Attorneys for Defendant
      COUNTY OF LOS ANGELES
   18
   19                       UNITED STATES DISTRICT COURT
   20        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   21
   22 LA ALLIANCE FOR HUMAN                         CASE NO. 2:20-cv-02291 DOC-KES
      RIGHTS, et al.,
   23                                               NOTICE OF LODGING
                 Plaintiffs,                        [PROPOSED] ORDER GRANTING
   24                                               DEFENDANT COUNTY OF LOS
           v.                                       ANGELES’ MOTION TO DISMISS
   25                                               PURSUANT TO F.R.C.P. 12(B)
   26 CITY OF LOS ANGELES, et al.,
                                                    Assigned to the Hon. David O. Carter
   27               Defendants.                     and Magistrate Judge Karen E. Scott
   28
                                                                   Case No. 2:20-cv-02291 DOC-KES
         NOTICE OF LODGING [PROPOSED] ORDER GRANTING DEFENDANT COUNTY OF LOS ANGELES’
                            MOTION TO DISMISS PURSUANT TO F.R.C.P. 12(B)
Case 2:20-cv-02291-DOC-KES Document 259 Filed 03/29/21 Page 2 of 2 Page ID #:5512




    1 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
    2        PLEASE TAKE NOTICE that Defendant County of Los Angeles hereby
    3 lodges with the Court the following document, a true and correct copy of which is
    4 attached hereto:
    5        1.    [Proposed] Order Granting Defendant County Of Los Angeles’ Motion
    6              To Dismiss Pursuant To F.R.C.P. 12(B)
    7
    8 DATED: March 29, 2021                 MILLER BARONDESS, LLP
    9
   10
                                            By:        /s/ Louis R. Miller
   11
                                                   LOUIS R. MILLER
   12                                              Attorneys for Defendant
   13                                              COUNTY OF LOS ANGELES

   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                                   Case No. 2:20-cv-02291 DOC-KES
         NOTICE OF LODGING [PROPOSED] ORDER GRANTING DEFENDANT COUNTY OF LOS ANGELES’
                            MOTION TO DISMISS PURSUANT TO F.R.C.P. 12(B)
